Case 2:05-cr-20185-.]PI\/| Document 17 Filed 06/24/05 Page 1 of 3 Page|D 23

IN THE UNITED STATES DISTRICT couRT
FOR THE wESTERN DISTRICT oF TENNESSEE n H‘,
wESTERN DIvIsION uSJs£Zs Hi£i-b_

§§

 

 

UNI'I`ED STATES OF AMERICA
Plaintiff,

Criminal No. Q_.§:_- 0 §§ Ml

(SO-Day Continuance)

(;‘S€“\‘ES»WAF¢WJ

 

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the July
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav. Auqust 26, 2005, with trial to take place on
the September, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through September 16, 2005. Agreed in

open court at report date this 24th day of June, 2005.

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» '~I‘M .,' ..r;{.'cr 32(|0) FHCrP on m " § /

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SO ORDERED this 24th day Of June, 2005.

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JO PHIPPS MCCALLA
/ TED STATES DISTRICT JUDGE

 

/' j /l

Assfs@ént United States Attorney

 

 

 

 

 

Counsel for Defendant(s)

 
 

UNITED sTATE DRISTIC COURT - WESTERN D's'TRCT oFTENNEssEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 17 in
case 2:05-CR-20185 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

L. Daniel Johnson

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Honorable J on McCalla
US DISTRICT COURT

